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                                                                           FILED
                                                                            MAR 18 2019
                  IN THE UNITED STATES DISTRICT COURT                     C~s.~COUrt
                      FOR THE DISTRICT OF MONTANA                                ~~ntana
                           MISSOULA DIVISION


 UNITED STATES OF AMERICA,                          CR 19-13-M-DWM-3

              Plaintiff,

       vs.                                                  ORDER

 PRZEMEK ROGALSKI,

              Defendant.


      Defendant Przemek Rogalski having moved unopposed to release certain

discovery from Local Rule CR 16.4,

      IT IS ORDERED that the motion (Doc. 44) is DENIED as MOOT. The

government indicated in its response that it intends to lift the L.R. CR 16.4

designation on certain pages of discovery to facilitate review. (See Doc. 45.)
                           J--                                   ,,,,,/
      DATED this     t/h     day of March, 2019.
